0 mA AND On F&F WW YN KF

MMO NO NO WN NHN WN NWN NO NO HF Fe HE FEF REFER Oe
on Dn On BP WD NYO KF CO UO WAIN WD A ff WY NY KF OC

 

 

fase 8:21-cv-01392-JVS-KES Document 16 Filed 12/07/21 Pagelof1 Page ID #:138

JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION
SHARI CIOTTI, CASE NO. 8:21-CV-1392-JVS-KES

Plaintiff, ORDER
VS.

COSTCO WHOLESALE
CORPORATION, A CALIFORNIA
CORPORATION and DOES 1 TO 20,
inclusive,

Defendants,

 

 

The Court hereby vacates all currently set dates and dismisses this case with

prejudice.
Nf
4 /
Y

United States Distriét Judge James V Selna

Dated: December 07, 2021

 

Attorneys for Plaintiff

 

Case No.: 8:20-cv-00031 JLS (DFMx) ORDER

 
